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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


DEBRA ROJAS,                                     §
                   Plaintiff                     §
                                                 §                   A-19-CV-00775-JRN
-vs-                                             §
                                                 §
TOLTECA ENTERPRISES, INC.,                       §
TRAVELERS CASUALTY AND                           §
SURETY COMPANY OF AMERICA,                       §
RESERVE AT SPRINGDALE, LP,
             Defendants



                                             ORDER

       Before the Court in the above-entitled and styled cause of action are Defendant Tolteca

Enterprises, Inc.’s (“Tolteca”) Second Motion for Summary Judgment (Dkt. 52); Defendant

Reserve at Springdale, LP’s (“The Reserve”) Motion to Dismiss (Dkt. 58); Tolteca’s Motion to

Dismiss for Lack of Jurisdiction (Dkt. 62); and Plaintiff’s Motion to Compel (Dkt. 68). For the

reasons explained herein, the Court finds that the Motions for Summary Judgment and to

Dismiss should all be DENIED and the Motion to Compel should be GRANTED.



                       a. Tolteca’s Second Motion for Summary Judgment

       “Summary judgment is appropriate only if ‘the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.’” Tolan

v. Cotton, 572 U.S. 650, 656–57 (2014) (quoting Fed. R. Civ. P. 56(a)). A dispute about a

material fact is “genuine” if the evidence, taken as a whole, could lead a rational trier of fact to

find for the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986); Kariuki v. Tarango, 709 F.3d 495, 501 (5th Cir. 2013).
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       On a motion for summary judgment, “a court must view the evidence ‘in the light most

favorable to the opposing party.’” Tolan, 572 U.S. at 657 (quoting Adickes v. S.H. Kress & Co.,

398 U.S. 144, 157 (1970)). The nonmoving party's evidence must be accepted as true, and all

reasonable inferences must be drawn in that party's favor. Anderson, 477 U.S. at 255; Chaplin v.

NationsCredit Corp., 307 F.3d 368, 372 (5th Cir. 2002); Richardson v. Oldham, 12 F.3d 1373,

1379 (5th Cir. 1994). “If reasonable minds could differ on the inferences arising from undisputed

facts, then a court should deny summary judgment.” Carlson v. FedEx Ground Package Sys.,

Inc., 787 F.3d 1313, 1318 (11th Cir. 2015) (quoting Allen v. Tyson Foods, Inc., 121 F.3d 642,

646 (11th Cir. 1997)); accord Askanase v. Fatjo, 130 F.3d 657, 665 (5th Cir. 1997) (“Summary

judgment is inappropriate when conflicting inferences and interpretations may be drawn from the

evidence.”); see also Byrd v. Roadway Express, Inc., 687 F.2d 85, 87 (5th Cir. 1982) (“That the

movant appears more likely to prevail at trial is no reason to grant summary judgment; it is not

the province of the court on a motion for summary judgment to weigh the evidence, assess its

probative value, or decide factual issues.”).

       Tolteca moves for partial summary judgment on the sole grounds that the new causes that

Plaintiff alleges in her First Amended Complaint under the Federal Fair Debt Collection

Practices Act (“FDCPA”) are barred by the relevant statute of limitations. (Mot., Dkt. 52, at 1);

see also 15 U.S.C. § 1692(k). Plaintiff responds that the new causes are timely pursuant to the

Relation-Back Doctrine of Rule 15(c)(1)(B). Fed. R. Civ. P. 15(c)(1)(B). This rule “governs

when an amended pleading ‘relates back’ to the date of a timely filed original pleading and is

thus itself timely even though it was filed outside an applicable statute of limitations.” Krupski v.

Costa Crociere S. p. A., 560 U.S. 538, 541 (2010). Subsection (B) allows the amended pleading

to relate back if “the amendment asserts a claim or defense that arose out of the conduct,
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transaction, or occurrence set out—or attempted to be set out—in the original pleading.” Fed. R.

Civ. P. 15(c)(1)(B).

        Plaintiff argues that because the amended complaint and the original complaint “arise out

of the same underlying facts” and “involve nearly identical factual allegations,” Tolteca was on

notice of the plaintiff’s general claim. (Resp., Dkt. 54, at 3) (citing Williams v. United States, 405

F.2d 234, 236 (5th Cir. 1968) (“Notice is the critical element involved in Rule 15(c)

determinations”); Norfolk Cty. Ret. Sys. v. Cmty. Health Sys., Inc., 877 F.3d 687, 694 (6th Cir.

2017) (“[I]f the original complaint puts a defendant on notice of the plaintiff’s general claim,

then new allegations that merely build on that claim should come as no surprise.”)).

        Tolteca responds that, because the amended complaint included allegations that Tolteca

charged a collection agency fee, those claims constitute a separate cause of action outside the

purview of the Relation-Back Doctrine. (Reply, Dkt. 56, at 1). The Court does not agree that the

addition of the collection agency fee allegation is so distant as to constitute a “separate cause of

action.” The Supreme Court in Williams clarified that the court should look to whether the

original complaint put Defendant on notice of the allegations of the amended complaint.

Williams, 405 F.2d at 236. The Court finds that the original complaint put Defendant on notice of

the allegations raised in the amended complaint.1



                  b. The Reserve’s Motion to Dismiss for Failure to State a Claim

        To survive a motion to dismiss under Rule 12(b), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570


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  The Court does not consider Tolteca’s remaining summary judgment arguments as they were raised for the first
time in Tolteca’s reply brief.
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(2007)). The plausibility standard is not met unless the “plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. Courts “are not bound to accept as true a legal conclusion couched as a factual

allegation.” Id. Thus, “[t]hreadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice.” Id.

       Rule 12(b)(6) is read in conjunction with Rule 8(a), which requires “a short plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2);

Twombly, 550 U.S. at 545. The “pleading standard Rule 8 announces does not require ‘detailed

factual allegations,’ but it demands more than an unadorned, the-defendant-unlawfully-harmed-

me accusation.” United States ex rel. King v. Univ. of Texas Health Science Center-Houston, 907

F.Supp.2d 846, 849 (S.D. Tex. 2012).

       The Reserve brings a motion to dismiss under Rule 12(b)(6) on the grounds that

Plaintiff’s amended complaint does nothing more than “make conclusory allegations that The

Reserve misrepresented the amount of Plaintiff’s alleged debt.” (Mot., Dkt. 58, at 1). To bring a

claim under the Texas Debt Collection Act (“TDCA”), a plaintiff must show “(1) the debt at

issue is a consumer debt; (2) Defendants are debt collectors within the meaning of the TDCA; (3)

Defendants committed a wrongful act in violation of the TDCA; (4) the wrongful act was

committed against Plaintiff; and (5) Plaintiff was injured as a result of Defendants’ wrongful

act.” Sgroe v. Wells Fargo Bank, N.A., 941 F.Supp.2d 731, 743 (E.D. Tex. 2013). The Reserve

challenges whether plaintiff has “alleged a wrongful act of misrepresentation under elements (3)

and (4).” (Mot., Dkt. 58, at 1). Plaintiff responds by pointing out a number of factual allegations

in the amended complaint, including that The Reserve falsely claimed Plaintiff owed money, did
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so after issuing a refund to Plaintiff, and assigned the debt to co-Defendant Tolteca for

collection. These allegations, taken as true, are sufficient to overcome a 12(b)(6) motion.



                     c. Tolteca’s Motion to Dismiss for Lack of Jurisdiction

       Tolteca moves the Court to dismiss Plaintiff’s claims alleging violations of both federal

and state debt collection practices acts on the grounds that Plaintiff has not adequately pled an

injury in fact or actual damages, and the Court therefore lacks jurisdiction. To establish standing,

a “plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged

conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.”

Spokeo v. Robbins, 136 S.Ct. 1540, 1547 (2016) (citing Lujan v. Defenders of Wildlife, 504 U.S.

555, 559–60 (1992)).

       In response, Plaintiff points out that, because she “has alleged specific statutory

provisions that were violated and has also stated what statutory provisions entitle her to relief,”

she has “suffered an alleged harm sufficient to satisfy the injury-in-fact requirement.” (Resp.,

Dkt. 67, at 3) (citing Hackler v. Tolteca Enterprises, Inc., No. SA-18-CV-00911-XR, at *3

(W.D. Tex. Sept. 9, 2019). Regarding injury, Plaintiff has alleged serious upset, strain, and fear

of the inability to find housing as a result of Defendants’ actions and reporting her to credit

bureaus. Plaintiff points to Brown v. Oaklawn Bank, 718 S.W.2d 678 (Tex. 1986), wherein the

Supreme Court of Texas, in a Debt Collection Act case, considered such damages as “serious[]

upset,” “fear” and “strain” worthy of remand to trial court for determination of damages. The

court further recognized that one of the purposes of the TDCA was to “prevent creditors from

preying upon a consumer’s fears and ignorance of the law to pursue allegedly delinquent

deaths.” Id. at 680 (emphasis added).
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       Tolteca responds by pointing to Elston v. Resolution Servs., Inc., 950 S.W.2d 180 (Tex.

App.—Austin 1997, no writ). However, an analysis of Elston reveals the case supports Plaintiff’s

damages argument. The Elston court considered whether the plaintiff had suffered actual

damages when he experienced “anxiety, sleeplessness,” “stress,” “upset,” being “stunned” and

feeling as though the defendant had “taken advantage” of him. Id. The Court concluded that he

had “suffered actual damages,” but had failed to tie those damages to the alleged TDCA

violations of the defendant. Id. at 184–85 (“Elston suffered actual damages . . . [but not] as a

result of [the defendant’s violations].. . . Elston alleges various physical and psychological

injuries but does not link them to the actual violations of which he complains.”). Thus, Elston

can be distinguished from the case at hand, where all of Plaintiff’s alleged damages are tied

closely to the defendants’ alleged violations.

       The Court does not here decide the validity or amount of Plaintiff’s damages—those are

matters for the jury to determine—but the Court is satisfied that standing has been established.



                                   d. Plaintiff’s Motion to Compel

       Finally, Plaintiff requests the Court to order Tolteca to “provide the address and

telephone number of each individual likely to have discoverable information.” Out of an

apparent desire to exemplify the Court’s earlier point that Tolteca’s counsel, Tom Clarke, is

attempting to “harass Plaintiff and the Court,” he has refused to provide such information in

flagrant violation of Rule 26. See Fed. R. Civ. P. 26(a)(1)(A)(i) (both parties must provide to the

other parties “the name and, if known, the address and telephone number of each individual

likely to have discoverable information . . .”).
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         The requested information will be disclosed to Plaintiff within 3 business days of the date

of this order.2 Mr. Clarke is advised that further violations in the same vein will result in

sanctions.



                                                     CONCLUSION

         For the reasons explained herein, the Court enters the following orders:

         IT IS ORDERED that Tolteca’s Second Motion for Summary Judgment (Dkt. 52); The

Reserve’s Motion to Dismiss (Dkt. 58); and Tolteca’s Motion to Dismiss for Lack of Jurisdiction

(Dkt. 62) are all DENIED.

         IT IS FURTHER ORDERED that Plaintiff’s Motion to Compel (Dkt. 68) is

GRANTED.

         SIGNED this 7th day of May, 2020.




                                                      JAMES R. NOWLIN
                                                      SENIOR U.S. DISTRICT JUDGE




2
  Included in the briefing on this motion are individual requests by the parties for the entry of a confidentiality and
protective order. The Court will consider the entry of such an order, but the parties must first confer and submit
(preferably jointly) a separate motion for its entry. The Court will not permit a delay in turning over the Rule 26
disclosures despite the absence of such an order, because Rule 26 makes clear that such a disclosure is intended to
be automatic.
